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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       Case No. 22-cr-00149-JEB
                                         :
ATHANASIOS ZOYGANELES,                   :
                                         :
                    Defendant.           :


           MOTION TO CONTINUE SENTENCING HEARING

      COMES NOW Attorney Allen H. Orenberg, counsel for the defendant,

Athanasios Zoyganeles, to respectfully move this Honorable Court for the entry of

an Order continuing the sentencing hearing to a date convenient to the Court and to

the parties. As grounds, the following is stated by undersigned counsel:

      1.       A sentencing hearing is scheduled for January 26, 2023, at 11:00 a.m.

      2.      On January 24, 2023, undersigned counsel file a motion for leave to

withdraw as counsel. (Doc. 39).

      3.      Until such time as the motion for leave to withdraw as counsel is

resolved, this Court should not conduct the schedule January 26th sentencing

hearing.

      4.      Counsel submits that granting this motion will not prejudice the

parties or the Court, and/or otherwise will be in the interests of justice.

      WHEREFORE, foregoing reasons, and for such other reasons that may

appear just and proper, undersigned counsel respectfully requests moves this

Honorable Court for the entry of an Order continuing the sentencing hearing to a

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date convenient to the Court and to the parties.

                                       Respectfully Submitted,


                                                          Digitally signed
                                        Allen H.          by Allen H.
                                                          Orenberg
                                        Orenberg          Date: 2023.01.24
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Dated: January 24, 2023




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